Case 2:07-cr-00515-WBS Document 216 Filed 05/26/10 Page 1 of 3


DAVID J. COHEN, ESQ.
California Bar No. 145748
BAY AREA CRIMINAL LAWYERS, PC
300 Montgomery Street, Suite 660
San Francisco, CA 94104
Telephone: (415) 398-3900

Attorneys for Defendant Alex Hernandez


                 IN THE UNITED STATES DISTRICT COURT

                   EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,       )       CR S CR 07-515-WBS
                                )
            Plaintiff,          )
                                )       STIPULATION AND [PROPOSED]
v.                              )       ORDER RESCHEDULING STATUS
                                )       CONFERENCE, AND EXCLUDING TIME
JUAN VILLA, JR.,                )       UNDER THE SPEEDY TRIAL ACT
MARICELLA VILLA, and            )
ALEX HERNANDEZ,                 )
                                )
            Defendant.          )
                                )



       The parties stipulate that the status conference set for May

24, 2010 be continued to June 1, 2010.              The parties further

stipulate that the time beginning May 24, 2010, and extending

through June 1, 2010, should be excluded from the calculation of

time under the Speedy Trial Act.           The parties submit that the

ends of justice are served by the Court excluding such time, so

that   counsel   for   each   defendant     may   have   reasonable   time

necessary for effective preparation, taking into account the

exercise of due diligence.      18 U.S.C. § 3161(h)(7)(B)(iv); Local

Code T4.

                                    1
Case 2:07-cr-00515-WBS Document 216 Filed 05/26/10 Page 2 of 3


     Therefore, the parties have agreed and respectfully request

that the Court reschedule the status conference for June 1, 2010

at 8:30 a.m.     Accordingly, the parties stipulate that time be

excluded pursuant to 18 U.S.C. § 3161(h)(7)(iv), Local Code T4.

     IT IS SO STIPULATED.

                                         BENJAMIN B. WAGNER

                                         United States Attorney



DATED: May 21, 2010                By:   /s/ Michael M. Beckwith
                                         MICHAEL M. BECKWITH
                                         Assistant U.S. Attorney
                                         Attorney for Plaintiff

DATED: May 21, 2010                By:   /s/ David J. Cohen
                                         DAVID J. COHEN
                                         Attorney for Defendant
                                         ALEX HERNANDEZ

DATED: May 21, 2010                By:   /s/ Kresta Daly
                                         KRESTA DALY
                                         Attorney for Defendant
                                         MARICELLA VILLA


DATED: May 21, 2010                By:    /s/ James Greiner
                                         JAMES GREINER
                                         Attorney for Defendant
                                         JUAN VILLA, JR.




                                    2
Case 2:07-cr-00515-WBS Document 216 Filed 05/26/10 Page 3 of 3


                                   ORDER

      For the reasons stated above, the status conference in case

number CR S-07-0515-WBS, currently set for May 24, 2010, is

continued to June 1, 2010; and the time beginning May 24, 2010,

and   extending   through   June    1,   2010,   is   excluded   from   the

calculation of time under the Speedy Trial Act for effective

defense preparation.     The Court finds that interests of justice

served by granting this continuance outweigh the best interests

of the public and the defendants in a speedy trial.          18 U.S.C. §

3161(h)(7)(A) and (B)(iv).


      IT IS SO ORDERED.

Dated: May 26, 2010
